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5
     Attorney for Defendant
     VI A. LE
6
                               IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8

9    UNITED STATES OF AMERICA,                        )       No. CR-S-10-443 JAM
                                                      )
                                                      )
10             Plaintiff,                             )       STIPULATION REGARDING
11
                                                      )       EXCLUDABLE TIME PERIODS
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS
12
     VI A. LE and                                     )
                                                      )       Date: October 30, 2012
13   DONG PING HUANG,                                 )       Time: 9:45 a.m.
14
                                                      )       Judge: Honorable John A. Mendez
               Defendants.                            )
                                                      )
15
                                                      )
16

17             The United States of America through its undersigned counsel, Todd D. Leras, Assistant
18
     United States Attorney, together with counsel for defendant Vi A. Le, John R. Manning, Esq.,
19
     and counsel for defendant Dong Ping Huang, Olaf W. Hedberg, Esq., hereby stipulate the
20

21
     following:

22        1. By previous order, this matter was set for status conference on September 11, 2012.
23        2. By this stipulation, defendants now move to continue the status conference until October
24
     23, 2012 and to exclude time between September 11, 2012 and October 30, 2012 at 9:45 a.m.
25
     under the Local Code T-4 (to allow defense counsel time to prepare).
26

27        3.   The parties agree and stipulate, and request the Court find the following:

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     a. Counsel for the defendants need additional time to meet with the defendants (with
1

2       interpreter) in order to complete their review of the discovery; investigation reports,

3       discussion and analysis of relevant USSG calculations; and, review the plea
4
        agreements.
5
     b. This case includes 526 pages of discovery as well as one disc of video.
6

7
     c. The defendants require the services of a Cantonese interpreter in order to

8       communicate effectively with counsel.
9    d. Counsel for defendants believe the failure to grant a continuance in this case would
10
        deny defense counsel reasonable time necessary for effective preparation, taking into
11
        account the exercise of due diligence.
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13   e. The Government does not object to the continuance.

14   f. Based on the above-stated findings, the ends of justice served by granting the
15
        requested continuance outweigh the best interests of the public and the defendants in
16
        a speedy trial within the original date prescribed by the Speedy Trial Act.
17
     g. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
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19      Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period

20      of September 11, 2012 to October 30, 2012, inclusive, is deemed excludable pursuant
21
        to 18 United States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local
22
        Code T-4 because it results from a continuance granted by the Court at defendant’s
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24
        request on the basis of the Court’s finding that the ends of justice served by taking

25      such action outweigh the best interest of the public and the defendant in a speedy
26      trial.
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                                              2
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        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
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2          Speedy Trial Act dictate that additional time periods are excludable from the period

3          within which a trial must commence.
4
     IT IS SO STIPULATED.
5

6
     Dated: September 6, 2012                                     /s/ John R. Manning
7                                                                JOHN R. MANNING
8
                                                                 Attorney for Defendant
                                                                 Vi A. Le
9
     Dated: September 6, 2012                                    /s/ Olaf W. Hedberg
10                                                               OLAF W. HEDBERG
11
                                                                 Attorney for Defendant
                                                                 Dong Ping Huang
12

13

14   Dated: September 6, 2012                                    Benjamin B. Wagner
                                                                 United States Attorney
15
                                                                 by:/s/ Todd D. Leras
16
                                                                 TODD D. LERAS
17                                                               Assistant U.S. Attorney

18

19
                                      ORDER
            IT IS SO FOUND AND ORDERED this 10th day off September, 2012.
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22                                                       /s/ John A. Mendez____________
                                                         John A. Mendez
23                                                       United States District Court Judge
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